          Case 8:12-cv-01994-DOC-JCG                                   Document 222   Filed 10/24/24        Page 1 of 3 Page ID
                                                                            #:3121
                                                                                                                                               EJ-190
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, address, and State Bar number):
After recording, return to:
D. Jason Davis (SBN 193225)
Davis Law Office
222 W. 6th St., Suite 400
San Pedro, CA 90731

TEL NO.: (424) 256-6279               FAX NO. (optional):
EMAIL ADDRESS:     jason@davislo.com
          ATTORNEY               ORIGINAL JUDGMENT          X   ASSIGNEE
          FOR                    CREDITOR                       OF RECORD

SUPERIOR COURT OF CALIFORNIA, COUNTY OF

STREET ADDRESS:       411 West 4th Street, Room 1053
MAILING ADDRESS:

CITY AND ZIP CODE: Santa Ana, CA 92701-4516

BRANCH NAME:      Central District of CA - Southern Division                                      FOR RECORDER'S USE ONLY

 PLAINTIFF/PETITIONER: David Parker and Big Bird Holdings, LLC                               CASE NUMBER:

DEFENDANT/RESPONDENT: Alexander Marine Co., Ltd.                                             8:12-cv-01994-DOC-JCG

                APPLICATION FOR AND RENEWAL OF JUDGMENT                                                     FOR COURT USE ONLY


 X        Original judgment creditor
 X        Assignee of record
          applies for renewal of the judgment as follows:
1. Applicant (name and address):
   Big Bird Holdings, LLC and Jonathan David Parker
   1605 Via Montemar
   Palos Verdes Estates, CA 90274
              Additional judgment creditors listed in Attachment 1.
2. Judgment debtor (name and last known address):
   Alexander Marine Co., Ltd.
   806 No. 1, Jin Fu Road
   Qian-Zhen District, Kaohsiung 806, Taiwan
              Additional judgment debtors listed in Attachment 2.
3. Original judgment
     a. Case number (specify): 8:12-cv-01994-DOC-JCG
     b. Entered on (date): February 2, 2015
     c. Recorded: Date:                                           County:                         Instrument No.:
                   This judgment has been recorded in additional counties, listed in Attachment 3.

4.            Judgment previously renewed (specify each case number and date):




5.           Renewal of money judgment
     a.    Total judgment (as entered or last renewed) . . . . . . $  4,204,593.96
     b.    Costs after judgment (CCP 685.090) . . . . . . . . . . . . $
                                                                      0.00
     c.    Subtotal (add a and b) . . . . . . . . . . . . . . . . . . . . . . . . $
                                                                      4,204,593.96
     d.    Credits to principal (after credit to interest) . . . . . . . . $
                                                                      0.00
     e.    Subtotal (subtract d from c) . . . . . . . . . . . . . . . . . . . . $
                                                                      4,204,593.96
     f.    Accrued interest remaining due per CCP 695.210(b) $        73,650.36
     g.    Fee for filing renewal application . . . . . . . . . . . . . . . . $
                                                                      0.00
     h.    Total renewed judgment (add e, f, and g) . . . . . . . . $ 4,278,244.32
     i.          The amounts called for in a–h are different for each debtor. These
                 amounts are stated for each debtor on Attachment 5.
                                                                                                                                               Page 1 of 2
Form Approved for Optional Use                                                                                   Code of Civil Procedure, § 683.110 et seq.
Judicial Council of California                     APPLICATION FOR AND RENEWAL OF JUDGMENT                                              www.courts.ca.gov
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                                                                                                                                         EJ-190
  SHORT TITLE:                                                                                      CASE NUMBER:

  David Parker v. Alexander Marine Co., Ltd.                                                        8:12-cv-01994-DOC-JCG

5. j.      The money judgment (check all that apply)
           (1)           has a principal amount remaining unsatisfied of under $50,000 and is for a claim related to personal debt.
           (2)           has a principal amount remaining unsatisfied of under $200,000 and is for a claim related to medical expenses.
           (3)           relates to any other claims, including claims for personal debt or medical expenses that do not otherwise fit within (1)
                         or (2).

            Note: A judgment against a natural person may be renewed only once, for five years from the date an application is filed, if
            the unsatisfied principal amount at the time of renewal is below $50,000 for personal debt claims or $200,000 for medical
            expense claims. This exception does not apply to debts incurred due to, or obtained by, tortious or fraudulent conduct, or
            judgments for unpaid wages, damages, or penalties owed to an employee. (Code Civ. Proc., §§ 683.110–683.120.)

6.            Renewal of judgment for                    possession.
                                                         sale.
     a.            If judgment was not previously renewed, terms of judgment as entered:




     b.            If judgment was previously renewed, terms of judgment as last renewed:




     c.            Terms of judgment remaining unsatisfied:




I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: October 24, 2024


          D. Jason Davis
                                (TYPE OR PRINT NAME)                                                 (SIGNATURE OF DECLARANT)




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                                              APPLICATION FOR AND RENEWAL OF JUDGMENT                                                    Page 2 of 2
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                                      #:3123


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   2                             CERTIFICATE OF SERVICE
   3          Pursuant to Local Rule, I, the filer of this document, attest that all other
   4   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
       content and have authorized the filing. I certify that on October 24, 2024, I
   5   electronically filed the foregoing APPLICATION FOR AND RENEWAL OF
   6   JUDGMENT with the Clerk of the Court for the United States District Court,
       Central District of California, by using the CM/ECF system. Participants in the
   7   case who are registered CM/ECF users will be served by the CM/ECF system.
   8

   9
  10    Dated: October 24, 2024                 DAVIS LAW OFFICE
  11
                                                By:   /s/ D. Jason Davis
  12                                               D. Jason Davis, Esq.
                                                Attorneys for Plaintiffs and Judgment
  13                                            Creditors Big Bird Holdings, LLC and
                                                Jonathan David Parker
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